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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

JEROME DAVIS, et al.,                  )
                                       )
                                       )
                         Plaintiffs,   )
                                       )
            v.                         )    No. 19-CV-3691
                                       )    Honorable Mary Rowland
CITY OF CHICAGO,                       )
                                       )
                         Defendant.    )

          DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFFS’
                         MOTION TO COMPEL
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                                        INTRODUCTION

       All that remains of this suit following the Court’s ruling on the City’s Motion to Dismiss

are Plaintiffs’ Proportionate Penalties Clause Claim (Count I); Plaintiffs’ Due Process Claims

challenging the City’s alleged policy of holding cars until all fines and fees are paid, before a

final judgment has been entered, and the City’s notice practices (Counts III and IV); and Plaintiff

Spencer Byrd’s state law claims related to his personal property (Count VII). To date, the City

has responded to 14 of Plaintiffs’ 21 interrogatories and 9 of Plaintiffs’ 13 Requests for

Production (“RFPs”). But following substantial dialogue with Plaintiffs and the tendering of

supplemental responses, the remaining requests are unduly burdensome to comply with and

irrelevant to any claims or defenses in this suit, and thus not proportionate to the needs of the

case. Further, Plaintiffs’ effort to obtain the identities of potential class members is premature

and an improper use of discovery. For those reasons and others detailed more fully below,

Plaintiffs’ motion to compel should be denied.

                                      LEGAL STANDARD

       Rule 26 requires that discovery be both relevant and proportional to the needs of the case,

“considering the importance of the issues at stake in the action, the amount in controversy, the

parties’ relative access to relevant information, the parties’ resources, the importance of the

discovery in resolving the issues, and whether the burden or expense of the proposed discovery

outweighs its likely benefit.” Motorola Sols., Inc. v. Hytera Commc'ns Corp., 365 F. Supp. 3d

916, 924 (N.D. Ill. 2019) (citation omitted). The party requesting discovery bears the initial

burden of establishing its relevancy, Eternity Mart, Inc. v. Nature’s Sources, LLC, No. 19-CV-

02436, 2019 WL 6052366, at *2 (N.D. Ill. Nov. 15, 2019) (citing Rennie v. Dalton, 3 F.3d 1100,

1110 (7th Cir. 1993)), and that it is not unduly burdensome and is proportionate to the needs of



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the case, Motorola Sols., Inc., 365 F. Supp. 3d at 925 n.6. Additionally, when discovery is

cumulative or not proportionate, “the court must limit the frequency or extent of discovery.”

Hespe v. City of Chicago, No. 13 C 7998, 2016 WL 7240754, at *3 (N.D. Ill. Dec. 15, 2016)

                                            ARGUMENT

I.      Plaintiffs Are Not Entitled To Additional Discovery Concerning The Financial
        Aspects Of Impoundments.

        In Part I of their brief, Plaintiffs seek additional discovery on the financial costs and

benefits to the City of impounding vehicles. Specifically, Plaintiffs seek (a) the amount of

administrative penalties the City has collected pursuant to MCC § 2-14-132; (b) the amount

spent by the City to administer the impoundment system and the amount “netted” by the City

from disposing of impounded vehicles; and (c) a description of alternatives considered by the

City to retaining impounded vehicles after a preliminary hearing. The City has already

responded (or, in the case of the first category, intends to respond) to each of these lines of

discovery in part, but the additional discovery is not proportionate to the needs of the case.

        a.      The City has produced information in response to Plaintiffs’ requests, but
                additional production would be unduly burdensome.

        In response to Plaintiffs’ first category of discovery above – identifying the amounts of

administrative penalties the City has collected pursuant to MCC § 2-14-132 (Interrog. 3) – the

City has expended substantial time and resources attempting to collect and process information

that will yield the total amount of administrative penalties collected during the relevant time

period for all violations of MCC § 9-80-240 and MCC § 7-24-225, which are the two ordinances

establishing the particular violations that Plaintiffs’ vehicles were impounded under. The City

plans to produce that number when available. 1 However, identifying the amounts collected for


1
 The City maintains that this aggregate information is not relevant to any claim in this case, but is
working to produce it in the interest of compromise. However, because this review is not complete and is
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the other twenty-two underlying MCC violations that are subject to MCC § 2-14-132 is unduly

burdensome, because it would require a manual review of payment accounts similar in scope to

the months-long review the City has undertaken with respect to MCC § 9-80-240 and MCC § 7-

24-225, and because Plaintiffs were not cited under these other ordinances. 2

        In the second category of discovery, Plaintiffs seek the amount of money the City has

spent on all impounds since April 29, 2017 (Interrog. 17); the amount of money the City has

“netted” through disposal of impounded vehicles since April 29, 2017 (Interrog. 19); and

contracts and agreements for the collection of impoundment related debt (RFP 5).

        As to amounts spent on impounds, the City directed Plaintiffs to the City’s contract with

URT United Road Towing, Inc. (“URT”), see Dkt. 74-1 at Page ID 721. URT operates much of

the City’s towing and impoundment program, and the contract identifies the amounts the City

pays to URT. The City also identified the specific dollar amounts it paid to URT in 2019, 2020,

and through May 31, 2021, for services related to vehicles impounded pursuant to MCC § 2-14-

132. See Dkt. 74-1 at Page ID 749. This production therefore provides substantial information

as to the City’s costs for impoundments. Plaintiffs fault the City for not producing these URT

figures for 2017 and 2018 in its response to Interrogatory 17, but doing so is unduly




labor intensive and complex, the City reserves its right to renew its objection to producing this
information should production prove more even difficult than currently believed.
2
  Throughout their motion, Plaintiffs assert that the City’s burdensomeness objections should be rejected
as “boilerplate.” See, e.g., Dkt. 73 at 5. However, Plaintiffs cannot claim the City has never previously
disclosed details regarding the burdensomeness of these requests. The City noted in its June 28, 2021,
email that it was continuing to work with is client departments on the issue of burden. Dkt. 74-1, Page ID
772. Moreover, in the City’s August 17, 2021 letter – to which Plaintiffs never responded – the City
provided additional detail on the burden with respect to Interrogatory 3 and restated its burdensomeness
objections regarding the other requests. Plaintiffs at no time requested additional information regarding
burden in any letter or telephone conference. And it is self-evident that collecting and producing tens of
thousands of records and documents is burdensome.


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burdensome.3 In contrast, the City did include these years in its response to Interrogatory 18, in

which it provided the specific dollar amount of monies received from URT from April 27, 2017

and May 31, 2021, because that information did not present these same issues of burden.

       Plaintiffs also fault the City for only providing the amount it paid to URT for

administering impounds, and not the “total” amount of money “spent on all impounds.” Dkt. 73

at 7. But, as the City explained, this is too vague a request to reasonably respond to, because any

number of things could be deemed as being an expenditure related to impounding vehicles. For

instance, the request could encompass the City’s costs of owning vehicle storage lots, employee

salaries, and other operating costs for each of the City departments involved in the impound

process, such as the City’s Police Department (“CPD”), its Department of Streets and Sanitation

(“DSS”), and its Department of Administrative Hearings (“DOAH”). Within these departments,

the share of the costs attributable to impounds under MCC § 2-14-132 would somehow have to

determined – for instance, the City would have to determine how many hours DSS employees

spend on matters relating to section 2-14-132 impounds versus all of the other Municipal Code

matters that are heard and processed by DSS. This is a burdensome and time-consuming task.

       Similar problems plague Plaintiffs’ request for the amounts the City has “netted” from

the disposal of vehicles since April 29, 2017. Plaintiffs have not defined “net” – they have not

indicated which set of monies comprises the relevant amount received by the City, or the

relevant amount paid by the City. One can only produce a “net” once those two buckets are

known. And, as just explained, it is burdensome for the City to identify the full amounts



3
  Prior to 2019, the City tracked the amount of money the City paid URT for its services under the
contract, but did not specifically track payments for each type of impound and offense. Thus,
determining how much the City paid to URT for the specific types of impounds at issue here for 2017 and
2018 would require a manual review of impound records to determine the cost attributable to each
violation type.
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attributable to operating section 2-14-132 impounds. But Plaintiffs are not without information

bearing on this question. The City identified amounts paid to and received from URT. From

these figures, one can compute a partial net for the URT monies, which the City identified for

Plaintiffs (while also noting the limitations of that number). See Dkt. 74-1 at Page ID 750-51.

       As to the third category of discovery, Plaintiffs seek whether City “policymakers” have

considered alternatives to retaining impounded vehicles after the preliminary hearing (Interrogs.

15 & 16). In response, the City indicated that the City Council is the policymaking body

concerning the ordinance provisions challenged here, and that any alternatives duly considered

by the City Council would be part of the official legislative record, which is publicly available.

       Further response beyond this is not warranted. Plaintiffs argue that “policymakers”

encompasses City officials or employees beyond the City Council, relying on caselaw regarding

municipal liability under Section 1983. See Dkt. 73 at 8-9 (citing Pembaur v. City of Cincinnati,

475 U.S. 469, 480 (1986)). But that caselaw does not warrant a broader discovery response. To

be sure, there are certain limited instances when individuals are classified as “policymakers” for

purposes of Monell liability under Section 1983. But here, Plaintiffs’ challenge to the holding of

vehicles after a preliminary hearing takes issue with a policy adopted by the City Council in an

ordinance. In that instance, the relevant “policymaker” is the City Council, not individual

officials. See Rasche v. Vill. of Beecher, 336 F.3d 588, 601 (7th Cir. 2003) (generally “the

policymaking authority in the city structure will be the city council”). In addition, discovery into

whether individual City officials considered alternatives outside the official legislative record

would be unduly burdensome, as it would require canvassing scores of individuals.

       b.      Additional response is not proportionate to the needs of the case.

       As explained above, the additional discovery sought by Plaintiffs going to the fiscal and

administrative aspects of holding vehicles after the preliminary hearing is burdensome or
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otherwise cannot be responded to as a practical matter. But in addition, any further response is

disproportionate to the needs of the case, because these lines of inquiry are not relevant. 4

        For example, Plaintiffs contend that information about the City’s costs and “net” from

impounds is needed to test the City’s statement that one of the benefits from retaining vehicles

after the preliminary hearing is that retention “can help ensure” that the City receives the monies

owed for the underlying offense and towing and storage costs. See Dkt. 74-1 at Page ID 705-06;

Dkt. 73 at 6. But whether holding vehicles helps the City receive these monies is not a matter

subject to second-guessing by the Court, and therefore not a proper subject for factual

development through discovery. Holding vehicles in this way is a policy determination made

legislatively by the City Council (as reflected in MCC § 2-14-132), and a challenge to it

therefore sounds in substantive due process rather than procedural due process. And as a

substantive due process matter, it is subject to mere rational basis review, Lee v. City of Chicago,

330 F.3d 456, 467 (7th Cir. 2003), which means that the merits of the ordinance are “‘not subject

to courtroom factfinding and may be based on rational speculation unsupported by evidence or

empirical data,’” National Paint & Coatings Association v. City of Chicago, 45 F.3d 1124, 1127

(7th Cir. 1995) (quoting FCC v. Beach Communications, Inc., 508 U.S. 307, 315 (1993)). 5

Rational basis review, moreover, is amply satisfied here, because it is self-evident that holding a

vehicle may spur its owner to pay the amounts owed. See Saukstelis v. City of Chicago, 932


4
  To the extent that the City produced information in response to Plaintiffs’ requests, that does not mean
that further production is required or that the City conceded relevance. See Dkt. 73 at 6. The City’s
production was made in an effort to be cooperative in discovery and to eliminate the need for Court
intervention. At this point, however, the burden, vagueness, and lack of proportionality of Plaintiffs’
continued requests renders further response by the City inappropriate and unwarranted.
5
  Rational basis review is “a paradigm of judicial restraint,” Beach Commc’ns, Inc., 508 U.S. at 314.
Under the test, distinctions drawn by the City bear “a strong presumption of validity” and “must be
upheld . . . if there is any reasonably conceivable state of facts that could provide a rational basis for the
classification.” Id. at 313-14. Courts are not to judge the “wisdom, fairness, or logic” of the City
Council’s policy judgment. Id. at 313.
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F.2d 1171, 1174 (7th Cir. 1991) (“It is not loony . . . to conclude that the threat (and use) of the

boot will prod owners to pay attention to tickets. It is certainly permissible for the government to

induce them to do so. Self-interest concentrates the mind.”); People v. Jaudon, 307 Ill. App. 3d

427, 447 (release of vehicles prior to payment “would clearly undermine the City’s ability to

recover”). How much the City ultimately spends on impounds, or whether it has a positive or

negative “net” after vehicles are disposed of, is therefore not germane. Regardless of what those

numbers are, the City Council’s judgment that holding a vehicle can induce the owner to pay is

rational. See National Paint, 45 F.3d at 1127 (explaining that the effectiveness of the City’s ban

on spray paint ban, and “[h]ow much” it reduced spray paint use, were irrelevant under rational

basis review because “thoughtful people could conclude that there will be some reduction”). See

also Dkt. 26-1, at 20-21.

       For the same reasons, further response to RFP 5 is not warranted. That request seeks

agreements and contracts for the collection of impoundment-related debt. The City produced as

a sample a typical agreement it has with an outside collection firm, while redacting proprietary

information relating to payment terms. Production of the rest of the contracts (or their

proprietary payment terms) is not relevant to the rationality of whether holding vehicles can help

ensure that the City receives the amounts owed.

       Plaintiffs contend that the fiscal aspects of the impound program and whether the City

considered alternatives to holding the vehicles after a preliminary hearing are relevant under the

balancing test of Mathews v. Eldridge, 424 U.S. 319, 335 (1976) – specifically, the factor going

to “the government’s interest, including the burdens to the City of alternatives.” Dkt. 73 at 9.

But the Mathews factors are used to determine whether sufficient procedural protections are

provided for a plaintiff to contest the factual basis for a deprivation – i.e., whether the



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deprivation was erroneous – under the governing statutes or rules that authorize a deprivation

when certain conditions are met. (Here, those statutes are MCC §§ 7-24-225 & 9-80-240, which

create the underlying offenses for which Plaintiffs’ vehicles were impounded.) The second and

third Mathews factors address “the risk of an erroneous deprivation of [plaintiff’s interest]

interest through the procedures used, and the probable value, if any, of additional or substitute

procedural safeguards; and finally, the Government's interest, including the function involved

and the fiscal and administrative burdens that the additional or substitute procedural

requirement would entail.” Mathews, 319 U.S. at 335 (emphasis added). “[T]hese concerns” are

weighed by courts to “determine whether a State has met the fundamental requirement of due

process — the opportunity to be heard at a meaningful time and in a meaningful manner.” Los

Angeles v. David, 528 U.S. 715, 717 (2003) (quoting Mathews, 319 U.S. at 333) (cleaned up).

This opportunity to be heard applies to the factual predicate that is the basis for the deprivation;

it does not apply to matters that do not bear on whether the predicate violation occurred. See

Connecticut Dep’t of Public Safety v. Doe, 538 U.S. 1, 4, 7-8 (2003).

       Here, the act of deprivation subject to procedural due process is the decision to impound

the vehicle in the first place, and the preliminary hearing offered by the City (as well as the

additional, full merits hearing) are part of the procedures afforded to allow the owner to

meaningfully be heard on that question, by contesting whether the vehicle was used in violation

of the City ordinance subjecting the vehicle to impoundment. Holding the vehicle after the

preliminary hearing, in contrast, is merely the consequence when the owner is unsuccessful at

these hearings. Holding the vehicle is not part of the procedures and alternatives relevant under

Mathews, because it is not a procedure used to determine whether the factual basis for the

impoundment was correct or erroneous. See Towers v. City of Chicago, 173 F.3d 619, 629 (7th



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Cir. 1999) (where plaintiffs did not allege facts relevant to whether seizure of vehicles

comported with City’s policy, “there was nothing to contest at a preliminary hearing and

therefore no deprivation of due process in its absence”). See also Tate v. District of Columbia,

627 F.3d 904, 908 (D.C. Cir. 2008) (citing Mathews, 424 U.S. at 333, and explaining that

“[plaintiff] had meaningful notice of her infractions [leading to the impoundment and holding of

her vehicle for potential auction] and a series of hearings to contest them”). 6 Whether there are

alternative ways for the City to help ensure that it collects the monies owed other than by holding

vehicles after the preliminary hearing is irrelevant under Mathews, because it does not bear on

the question whether the vehicle was used illegally under the City ordinances authorizing

impoundments for particular violations of law.

II.      Plaintiffs Are Not Entitled To Additional Discovery Concerning Notices Of
         Impoundment And Disposal.

         In Part II of their motion, Plaintiffs seek production of an enormous volume of notice

documents substantially identical to those notices already produced, as well as the names and

addresses of tens of thousands of non-parties. Specifically, Plaintiffs request all notices of

impoundment (RFP 10) and notices of disposal (RFP 11) the City has issued since April 29,

2017. Plaintiffs also seek all documents related to undelivered notices of impoundment (RFP




6
  The Seventh Circuit has analyzed the procedures for contesting whether the triggering act
subjecting the vehicle to impoundment occurred (a procedural due process issue) separately from
the policy decision of what is the appropriate consequence for such an impoundment (a
substantive due process issue). See Towers, 173 F.3d at 627-29 (analyzing, as a matter of
procedural due process, whether City provided sufficient notice of opportunity to contest the
basis for the impoundment at a preliminary hearing); id. at 626-27 (analyzing, as a matter of
substantive due process, whether imposition of fine on “innocent owners” of impounded vehicles
is lawful); Miller v. City of Chicago, 774 F.2d 188, 190-95 (7th Cir. 1985) (analyzing, as a
matter of procedural due process, whether City was required to give notice prior to impounding
stolen vehicle); id. at 195-96 (analyzing against the rational basis standard whether holding an
impounded stolen vehicle until the owner pays the amounts due comports with due process).
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12) and disposal (RFP 13) the City has issued since April 29, 2017, as well as the number of

these notices returned as undelivered (Interrogs. 20 and 21). These requests are improper on

multiple bases, including burdensomeness, proportionality, and relevance.

        a. The production and counting of tens of thousands of notices given to non-parties
           is irrelevant, burdensome, and not proportionate to the needs of the case.

        The City produced all the notices of impoundment and disposal that were mailed to or

otherwise provided to Plaintiffs, such as being personally handed to them or the drivers of their

vehicles. Additionally, the City has, in response to interrogatories, described its process for

mailing notices of impoundment and disposal to vehicle owners, drivers, and lienholders, as well

as its process with respect to notices returned as undelivered. But Plaintiffs now seek to compel

production of all notices of impoundment or disposal the City sent or provided to all other

owners, drivers, and lienholders. This universe of documents numbers in the tens of thousands.

        Plaintiffs assert that that these notices are relevant because they “go[] to Plaintiffs’ claim

that the City’s notices routinely fail to satisfy due process,” for Plaintiffs claim that “the City

maintains a policy of providing notices not reasonably calculated to reach their targets.” Dkt. 73

at 9 (internal quotations omitted) (citation omitted). But as to the notices of impoundment and

disposal (RFPs 10 & 11), Plaintiffs provide no explanation as to how gathering and producing

thousands of notices that were sent to non-parties (and substantively the same as the notices

issued to Plaintiffs and already produced) would aid in making this determination. There is no

dispute that the City’s process is to mail notices to the addresses of registered owners,

lienholders, and drivers. There is no additional value from production of these documents.

        On the flip side, producing these notices would be extremely burdensome. The City

provides written notice of impound in at least three separate ways. First, a written notice is

provided to the driver—which is often the owner—at the time of impound. Second, a mailed

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notice of impound is send via certified mail to the registered owner and lienholders by either

DSS or CPD, depending on where and why the vehicle was impounded. Third, if an individual

appears for a hearing, as Mr. Gant did, they will again be served a notice of impoundment and

will sign a receipt of such notice. See, e.g., Ex. A, Gant Receipt of Notice of Impound. Records

of each of these notices are kept in different locations by different custodians. Gathering all of

these documents for thousands of individuals who are not currently and may never be parties in

this case is unduly burdensome and not proportionate to the needs of the case.

        As to the notices of impoundment and disposal that were returned as undelivered (RFPs

12 & 13, and Interrogatories 20 & 21), no Plaintiff has standing to challenge the City’s handling

of returned notices, because they were not injured by any alleged failure of a mailed notice to

reach them. Each Plaintiff knew of their impound either at the time of impound (in the case of

Mr. Byrd), or the same day as the impound (in the cases of Ms. Nelson and Mr. Gant). See, Ex.

B, (Nelson Interrog. Resp. 3), Ex. C (Byrd Interrog. Resp. 3) and Ex. D (Gant Interrog. Resp. 3).

And as for notice of disposal, the City did not dispose of Mr. Byrd’s or Ms. Nelson’s vehicle, 7

and Mr. Gant received numerous notices of disposal, several of which he produced through

discovery. See, e.g., Ex. E, Plaintiff’s Production Number 00093. Because Plaintiffs had notice

contemporaneously with the impound, and before any notice could have been mailed and

returned, and Mr. Gant received personal notice of disposal multiple times before his vehicle was

disposed of, no Plaintiff could have been injured by the City’s alleged practices regarding the

handling of mailed of notices that were returned.

        But even if Plaintiffs had standing, further discovery on returned notices is burdensome

and disproportionate to the needs of the case. The returned notices that the City still has are kept


7
 The Cook County State’s Attorney disposed of Ms. Nelson’s vehicle through civil forfeiture, a process
Ms. Nelson had notice of and participated in. Mr. Byrd’s car is still held at a City owned impound lot.
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in multiple locations, including off-site storage. Producing those individual returned notices, or

computing the total number of returned notices that the City has (see Interrogatories 20 & 21)

would in many cases require a burdensome file-by-file review. In contrast to the burden of

production, there is little relevance. The City has stated that it does not take further steps

regarding notices that are returned as undelivered, and producing copies of the returned notices,

or identifying the total number of returns, adds nothing to this point. Because this proposition is

not in dispute, any further discovery on this process is merely cumulative and should not be

permitted. See Fed. R. Civ. P 26(b)(2)(c)(i).

        b. The discovery is not necessary for class certification and class identification is
           premature.

        Producing all the notices of impoundment and disposal sent to non-Plaintiffs also is not

needed for establishing numerosity for class certification purposes, because the City has already

indicated the numbers of vehicles impounded and disposed of during the relevant time periods,

numbers that are in the tens of thousands. See Response to Interrogs. 1 & 5. Plaintiffs assert,

without citation, that they are entitled to the actual notices themselves because they are entitled

to “primary-source evidence” to establish numerosity. But this does nothing to show that

producing these documents is proportional to the needs of the case, or that the Plaintiffs are

unable to establish numerosity based on the information the City already provided. 8

        The only purpose these requests could serve is to give Plaintiffs the personal identifying

information of other potential plaintiffs or putative class members. But discovery is not to be

turned “into ‘a tool to identify potential new clients.’” Swelnis v. Universal Fid. L.P., No. 2:13-



8
  The City is not conceding that these facts are sufficient to establish numerosity for certification
purposes, only that these facts represent the identical information Plaintiffs purport to hope to learn from
these outstanding requests, and thus these requests are improperly cumulative.


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CV-104-PRC, 2014 WL 1571323, at *2 (N.D. Ind. Apr. 17, 2014) (quoting 2 McLaughlin on

Class Actions 11:1 (10th ed.)). And as to class member identification, that too is not generally

the proper subject of discovery, particularly before a class is certified. See id. at *3 (denying a

pre-certification request for names and addresses of putative class members where the stated

purposes was to establish numerosity). Class member identification is properly addressed by the

mechanics of Rule 23 itself, not Rule 26. See Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340,

352 (1978). Thus, Plaintiffs’ argument that the Court has not bifurcated discovery is a red

herring – identification of the individual putative members is not a proper use of Rule 26

discovery. While there are limited exceptions to this rule, such as where identifying putative

class members is essential for establishing some element of a claim, that is not the case here. 9

III.    Plaintiffs Are Not Entitled To The Names And Addresses Of Thousands Of Non-
        Parties As To Other Aspects Of The City’s Impoundment Practices.

        Interrogatories 6, 12 and 13 respectively seek the names and addresses of individuals

against whom the City entered a default judgment for failing to appear at an initial impoundment

hearing, whose vehicles were impounded when being driven by someone else, and whose

vehicles were disposed of. These requests do not seek relevant information and are otherwise

unduly burdensome and not proportionate. Plaintiffs assert that the names and addresses of other

people with default judgments (Interrog. 6) is relevant because Ms. Nelson had a default

judgment entered against her. However, that default was vacated at her request and she had a

subsequent full merits hearing. And no Plaintiff claims that they were injured by the mere entry

of default. The entry of default judgments is not relevant to any claim before the Court.


9
 In addition, many of the vehicles in these additional notices were used to engage in criminal activity or
otherwise violate the law. The City objects to needlessly disclosing the identities and addresses of the
individuals connected to these activities when doing so is unnecessary at this stage and not probative of
any claim or defense in this case. Requiring production of redacted documents, while perhaps alleviating
concerns regarding confidential information, would greatly increase the burden of production.
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       For Interrogatory 12, Plaintiffs assert that the names and addresses of individuals whose

vehicles were impounded when being driven by someone else is relevant to their Proportionate

Penalties claim because it goes to “[t]he existence and prevalence of innocent people punished

by this system. . .” Dkt. 73 at 13. However, the request is overbroad, because it captures

individuals who are indisputably not innocent because they knowingly allowed their vehicles to

be used in illegal activity. Moreover, Plaintiffs do not require this information to establish the

City’s process with respect to how such situations are treated, as their Proportionate Penalties

claim challenges an ordinance which speaks for itself, not some uncertain practice.

       As to Interrogatory 13, Plaintiffs say that information as to all disposals is relevant

because their due process claim does not apply only to “innocent” owners, but Plaintiffs do not

explain how the names and addresses of individuals whose vehicle were disposed of are relevant

to any claims in this case. And as discussed above, none of the current Plaintiffs in this case

have standing to challenge the City’s notice practices regarding disposal. The City is left to

surmise that the continued effort to seek this discovery is an effort to identify a new potential

plaintiff that may have standing, which is not a proper use of discovery.

       In contrast to the lack of relevance of any of this information, producing the information

is unduly burdensome. Responding to Interrogatory 6 would require manual review of thousands

of dockets. To identify whether the driver of the impounded vehicle was someone other than the

owner, Interrogatory 12 would require locating the initial impound report, comparing that to the

LEADS report for owner information to see if they are different, and then redacting personal

information of the drivers for each of the responsive documents. And for owners of vehicles that

were disposed of, a similar manual review of all files would be necessary to determine who the

registered owner is of each vehicle. For all these reasons, the discovery should be denied.



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IV.     Interrogatory 7 Is Overbroad, Vague, And Unanswerable In Its Current Form.

        Finally, Interrogatory 7 asks the City to “Describe each step of the process by which the

City administers an impound, from the moment the vehicle is seized to the resolution of the

vehicle following the entry of final judgment.” Dkt. 73 at 3. The City objected to this

interrogatory on numerous bases, including that its language is vague and undefined, and

because formulating an answer is unduly burdensome given the myriad ways in which an

individual can interact with the City following an impoundment. As if to make the City’s point,

Plaintiffs include no fewer than twelve additional questions about the impound process that they

contend the City must answer. Dkt. 73 at 14. 10 Rule 26 allows courts to disallow discovery that

can be obtained in a less burdensome manner, Fed. R. Civ. P. 26(b)(2)(C)(i), and the less

burdensome approach would be for Plaintiffs to question a designated City witness on those

procedures that are actually relevant to the case. See Strode v. Venice, IL, No. 06-228 GPM,

2007 WL 294263, at *7 (S.D. Ill. Jan. 30, 2007) (denying motion to compel and finding

interrogatory better suited to a deposition when the “questions are simply too broad [and] there is

no way to assess compliance”).

                                              CONCLUSION

        For the foregoing reasons, Plaintiffs’ Motion to Compel should be denied in its entirety.




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  Many of these questions are also plainly irrelevant to this case. For example, Plaintiffs insist that the
City answer “how the City decides whether to sell, crush, or otherwise dispose of the car.” Dkt. 73 at 14.
There is no claim that relates to the particular manner of disposal of the vehicle. Plaintiffs also insist that
the City report on “how it pursues unpaid debt as a result of an impound.” Id. Again there is no claim
that relates to how the City pursues debt, and further, it is outside the scope of the request anyhow.
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Date: November 10, 2021
                                            CELIA MEZA,
                                            Corporation Counsel for the City of Chicago

                                            By: /s/ _Peter H. Cavanaugh _
                                            ANDREW W. WORSECK
                                            PETER H. CAVANAUGH
                                            City of Chicago, Department of Law
                                            Constitutional and Commercial Litig. Div.
                                            2 North LaSalle Street, Suite 520
                                            Chicago, Illinois 60602
                                            Andrew.Worseck@cityofchicago.org
                                            Peter.Cavanaugh@cityofchicago.org
                                            Attorneys for Defendant City of Chicago




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                               EX. A
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                               EX. B
     Case: 1:19-cv-03691 Document #: 77 Filed: 11/10/21 Page 21 of 41 PageID #:802



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


JEROME DAVIS,                                          No. 1:19-cv-03691
VERONICA WALKER-DAVIS,
SPENCER BYRD,                                          Assigned to the Honorable Judge Rowland
ALLIE NELSON, AND
LEWRANCE GANT
                                                       Plaintiff Allie Nelson’s Responses to the
              Plaintiffs,                              Defendant’s First Interrogatories

v.

CITY OF CHICAGO,

              Defendant.


        Plaintiff Allie Nelson hereby responds to Defendant City of Chicago’s First Interrogatories
as follows.

                                       GENERAL OBJECTIONS

       1.       Plaintiff has completed neither her investigation and discovery in this action nor her
preparation for trial. Accordingly, all responses below are based only upon such information and
documents that are presently available and specifically known to Plaintiff. All responses are provided
without prejudice to Plaintiff’s rights to:

                a.      Produce documents, evidence of any subsequently discovered fact or facts,
                or analyses not yet obtained or completed;

                b.      Otherwise assert factual and legal contentions as additional facts are
                ascertained, analyses are made, and legal research is completed; and

                c.      Amend, supplement, or withdraw any responses accordingly.

        2.      Plaintiff makes no implied admissions below.

        3.     Plaintiff objects generally to Defendant’s First Interrogatories to the extent that they
seek discovery of:

                a.      Information or documents subject to the attorney-client privilege, or any
                other applicable privilege;

                b.      Information or documents constituting the work product of Plaintiff or their
                attorneys in connection with the above-captioned matter;




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                c.       Information generated or documents prepared in anticipation of litigation or
                for trial by or for Plaintiff in connection with the above-captioned matter and not
                made discoverable by Rule 26;

                d.      Information or documents not in the possession or control of Plaintiff;

                e.      Confidential information or documents, except as a suitable protective order
                is entered.

                f.       No response is intended to waive these objections, including the inadvertent
                disclosure of any privileged document that resulted from Plaintiff’s good-faith effort
                to thoroughly respond to these interrogatories. Accordingly, Plaintiff reserves the
                right to recall any privileged document(s) from Defendant that were inadvertently
                disclosed in responding to these interrogatories.

       4.      Plaintiff objects to the interrogatories to the extent that they are oppressive,
overbroad, and unduly burdensome.

        5.       Plaintiff objects to the interrogatories to the extent that they are vague, ambiguous,
unintelligible, and make response impossible without speculation.

       6.       Plaintiff objects to the interrogatories to the extent that they are beyond the scope of
permissible discovery, seek information that is not relevant to the subject matter of this lawsuit,
and/or are not reasonably calculated to lead to the discovery of admissible evidence.

       7.      Plaintiff does not waive any of their general or specific objections in the event that
she may furnish materials or information coming within the scope of any such objections.

        8.     Plaintiff states that to the extent that any of the interrogatories seek information
already produced or provided to Defendant, that information will not be reproduced unless
Defendant specifically request it.

        9.      Plaintiff objects to the interrogatories to the extent that they purport to impose a
burden of disclosing information that is not readily available to Plaintiff or is equally available to
Defendant. Plaintiff further objects to the interrogatories to the extent that they purport to impose a
burden on Plaintiff to seek out information from third persons and/or to identify documents that
are not in Plaintiff’s possession, custody, or control, or that cannot be found in the course of a
reasonable search.

      10.      Where Defendant did not define a term used in the following interrogatories and are
ambiguous, Plaintiff applies each term’s common meaning.

         11.     Plaintiff’s answers to Defendant’s First Interrogatories are subject to the General
Objections as well as the specific objections made to each specific interrogatory. By answering
certain interrogatories, Plaintiff does not waive these general objections or any specific objections to
particular interrogatories.




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INTERROGATORY NO. 1:

       Identify by name (including all aliases), current address, and telephone number any
       and all persons having knowledge of the factual matters alleged in Plaintiffs’
       Amended Complaint, and briefly describe the subject matter of each person’s
       knowledge.

Response:

         Objection. This interrogatory is unduly burdensome in that it seeks information about “any
and all” persons with any knowledge of facts alleged in Plaintiffs’ Amended Complaint. Numerous
persons, including unknown third parties, are likely to have some knowledge of facts alleged in
Plaintiffs’ Amended Complaint. Further, Plaintiff has not completed investigation, discovery, or
preparation for trial. Without waiving this or any other objection, Plaintiff responds with the
following:

 Person                                               Subject Matter
 Allie Nelson                                         My car was seized and impounded by the City
 10431 South State Street                             of Chicago for something that happened when
 Chicago, IL 60628                                    it was being driven by someone else without my
 773.505.8318                                         permission. I repeatedly tried to get it back, but
                                                      never succeeded.
 Jharad Tillis                                        Jharad was driving my car when it was seized.
 7525 South Wentworth Avenue
 Chicago, IL 60620
 Toni Wise                                            Toni is my granddaughter. She was a passenger
 10431 South State Street                             in the car when it was seized.
 Chicago, IL 60628
 773.703.9642
 Earnest Moore                                        Earnest is my nephew. He drove me to City
 6609 South Maryland Avenue                           Hall and helped me try to get my car back.
 Chicago, IL 60637
 773.668.3201

INTERROGATORY NO. 2:

       Identify by name (including all aliases), current address, and telephone number any
       and all persons who may be called to testify at the trial in this matter, and identify the
       subjects of the witnesses’ expected testimony.

Response:

      Objection. Plaintiff has not completed investigation, discovery, or preparation for trial.
Without waiving this objection, Plaintiff responds at this time with the following:

 Person                                               Subject Matter
 Allie Nelson                                         I can testify about my experience with the city’s
 10431 South State Street                             impound program after my car was seized and




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 Chicago, IL 60628                                    impounded as a result of someone using the car
 773.505.8318                                         without my permission.

INTERROGATORY NO. 3:

       Describe all steps you took to locate and obtain release of your vehicle from impound
       following it being towed and impounded by the City of Chicago as described in the
       Amended Complaint, including the dates on which you took each action and identify
       all individuals you communicated with in your attempt to obtain release of your
       vehicle.

Response:

       Objection. This interrogatory is unduly burdensome in that it seeks information about the
names of every person Plaintiff communicated with and precise dates of events several years later.
Without waiving this objection, Plaintiff responds with the following:

        In October of 2017 I was in Texas recovering from chemotherapy treatments. On October
20, 2017, my granddaughter, Toni Wise, called me and told me that my car had been taken by
Chicago police. She told me that the car had been taken when her then-boyfriend, Jharad Tillis, was
driving it.

        I called my nephew, Earnest Moore, and told him what happened and asked for his help. He
started trying to find out why the car was taken and how to get it back. He called the impound lot
and was told the car was under investigation by the police and they could not give him any
information. Earnest called the police to find out about the investigation, but they also did not give
any information.

        A friend of Earnest’s had told him about a hardship program that they thought allowed
people to get their cars back when they are impounded. On November 2, 2017, Earnest and I went
to the Daley Center to try to get the car back. I do not remember the names of everyone we spoke
to at the Daley Center. While there, we had a hardship request that I wrote notarized by someone
named Cecilia Griffin. While at the Daley Center, I also filed a motion to have my court fees waived,
which was granted. In December 2017—I do not recall the exact date—I received a notice that a
default judgment had been entered against me for $3,335.00 related to the seizure of my car. I had
not received notice of the hearing that I had allegedly missed. On December 28, 2017, I went back
to the Daley Center with my nephew Earnest to file a motion to set aside the default judgment.
Someone in the Department of Administrative Hearings, I do not recall who, set a hearing date of
January 2, 2018.

      On January 2, 2018, Earnest took me to the hearing. My motion to set aside the default
judgment was granted and a new hearing was scheduled for February 6, 2018.

        Earnest again took me to the February 6 hearing. At that hearing, an administrative law
officer determined that I was liable for $5,925.00—an amount which included a $2,000 penalty for
unlawful drugs in a motor vehicle, $3,775 in storage fees, and $150.00 in towing fees.




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        At some point after the February 6 hearing (I believe it was in March 2018) I received a
notice telling me that my car had been destroyed. I did not receive any notice prior to that letting me
know that the City intended to destroy my car.

INTERROGATORY NO. 4:

       Identify the date and time you first learned that your vehicle was impounded as
       described in the Amended Complaint, the means by which you learned of the
       impounding of your vehicle, and from whom you learned of the impounding of your
       vehicle.

Response:

        I learned my car was seized on October 20, 2017 when my granddaughter, Toni Wise, called
me and told me. I learned it was at the impound lot after my nephew, Earnest Moore, called the
impound lot to try to get information about the car and they told him it as involved in a police
investigation.

INTERROGATORY NO. 5:

       Identify each person answering or assisting in answering these interrogatories.

Response:

Allie Nelson; Earnest Moore; Kirby Thomas West

                                           VERIFICATION

I declare under penalty of perjury that the preceding interrogatory responses are true and correct to
the best of my knowledge as of this date, December 16, 2020.
/s/ Allie Nelson

Dated: December 16, 2020
                               By:     /s/ Diana K. Simpson
                                       Diana K. Simpson
                                       Kirby Thomas West
                                       INSTITUTE FOR JUSTICE
                                       901 North Glebe Road, Suite 900
                                       Arlington, VA 22203
                                       (703) 682-9320
                                       diana.simpson@ij.org; kwest@ij.org
                                       Robert Pavich
                                       PAVICH LAW GROUP, PC
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                                       (312) 690-8400
                                       rpavich@pavichlawgroup.com




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                               EX. C
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                                        Counsel for Plaintiffs



                                     CERTIFICATE OF SERVICE

        I hereby certify that on December 16, 2020, I emailed the foregoing Plaintiff Allie Nelson’s
Responses to the Defendant’s First Interrogatories to the following counsel for Defendant:

        Andrew W. Worseck
        Peter H. Cavanaugh
        City of Chicago, Department of Law
        andrew.worseck@cityofchicago.org
        peter.cavanaugh@cityofchicago.org

                                        /s/ Diana K. Simpson




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


JEROME DAVIS,                                          No. 1:19-cv-03691
VERONICA WALKER-DAVIS,
SPENCER BYRD,                                          Assigned to the Honorable Judge Rowland
ALLIE NELSON, AND
LEWRANCE GANT
                                                       Plaintiff Spencer Byrd’s Responses to the
              Plaintiffs,                              Defendant’s First Interrogatories

v.

CITY OF CHICAGO,

              Defendant.


        Plaintiff Spencer Byrd hereby responds to Defendant City of Chicago’s First Interrogatories
as follows.
                                      GENERAL OBJECTIONS

       1.       Plaintiff has completed neither his investigation and discovery in this action nor his
preparation for trial. Accordingly, all responses below are based only upon such information and
documents that are presently available and specifically known to Plaintiff. All responses are provided
without prejudice to Plaintiff’s rights to:

                a.      Produce documents, evidence of any subsequently discovered fact or facts,
                or analyses not yet obtained or completed;

                b.      Otherwise assert factual and legal contentions as additional facts are
                ascertained, analyses are made, and legal research is completed; and

                c.      Amend, supplement, or withdraw any responses accordingly.

        2.      Plaintiff makes no implied admissions below.

        3.     Plaintiff objects generally to Defendant’s First Interrogatories to the extent that they
seek discovery of:

                a.      Information or documents subject to the attorney-client privilege, or any
                other applicable privilege;

                b.      Information or documents constituting the work product of Plaintiff or their
                attorneys in connection with the above-captioned matter;
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                c.       Information generated or documents prepared in anticipation of litigation or
                for trial by or for Plaintiff in connection with the above-captioned matter and not
                made discoverable by Rule 26;

                d.      Information or documents not in the possession or control of Plaintiff;

                e.      Confidential information or documents, except as a suitable protective order
                is entered.

                f.       No response is intended to waive these objections, including the inadvertent
                disclosure of any privileged document that resulted from Plaintiff’s good-faith effort
                to thoroughly respond to these interrogatories. Accordingly, Plaintiff reserves the
                right to recall any privileged document(s) from Defendant that were inadvertently
                disclosed in responding to these interrogatories.

       4.      Plaintiff objects to the interrogatories to the extent that they are oppressive,
overbroad, and unduly burdensome.

        5.       Plaintiff objects to the interrogatories to the extent that they are vague, ambiguous,
unintelligible, and make response impossible without speculation.

       6.       Plaintiff objects to the interrogatories to the extent that they are beyond the scope of
permissible discovery, seek information that is not relevant to the subject matter of this lawsuit,
and/or are not reasonably calculated to lead to the discovery of admissible evidence.

       7.      Plaintiff does not waive any of their general or specific objections in the event that
she may furnish materials or information coming within the scope of any such objections.

        8.     Plaintiff states that to the extent that any of the interrogatories seek information
already produced or provided to Defendant, that information will not be reproduced unless
Defendant specifically request it.

        9.      Plaintiff objects to the interrogatories to the extent that they purport to impose a
burden of disclosing information that is not readily available to Plaintiff or is equally available to
Defendant. Plaintiff further objects to the interrogatories to the extent that they purport to impose a
burden on Plaintiff to seek out information from third persons and/or to identify documents that
are not in Plaintiff’s possession, custody, or control, or that cannot be found in the course of a
reasonable search.

      10.      Where Defendant did not define a term used in the following interrogatories and are
ambiguous, Plaintiff applies each term’s common meaning.

         11.     Plaintiff’s answers to Defendant’s First Interrogatories are subject to the General
Objections as well as the specific objections made to each specific interrogatory. By answering
certain interrogatories, Plaintiff does not waive these general objections or any specific objections to
particular interrogatories.




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INTERROGATORY NO. 1:

       Identify by name (including all aliases), current address, and telephone number any
       and all persons having knowledge of the factual matters alleged in Plaintiffs’
       Amended Complaint, and briefly describe the subject matter of each person’s
       knowledge.

Response:

         Objection. This interrogatory is unduly burdensome in that it seeks information about “any
and all” persons with any knowledge of facts alleged in Plaintiffs’ Amended Complaint. Numerous
persons, including unknown third parties, are likely to have some knowledge of facts alleged in
Plaintiffs’ Amended Complaint. Further, Plaintiff has not completed investigation, discovery, or
preparation for trial. Without waiving this or any other objection, Plaintiff responds with the
following:

 Person                                               Subject Matter
 Spencer Byrd                                         My car was impounded by the City of Chicago,
 14529 Myrtle Avenue                                  and I have unsuccessfully tried to get it back
 Harvey, IL 60426                                     from the police, the pound, and the courts.
 708.247.9454
 Timothy Mars                                         Timothy Mars was a passenger in my car when
 1521 Woods                                           we were pulled over and my car was
 Harvey, IL 60426                                     impounded. I do not know him. This
                                                      information is from the documents I received
                                                      relating to the impound.
 Andrew Hemmer                                        Andrew Hemmer was an attorney from Cabrini
                                                      Green who represented me in some of the legal
                                                      proceedings related to my car.

INTERROGATORY NO. 2:

       Identify by name (including all aliases), current address, and telephone number any
       and all persons who may be called to testify at the trial in this matter, and identify the
       subjects of the witnesses’ expected testimony.

Response:

      Objection. Plaintiff has not completed investigation, discovery, or preparation for trial.
Without waiving this objection, Plaintiff responds at this time with the following:

 Person                                               Subject Matter
 Spencer Byrd                                         I can testify about my experience with the city’s
 14529 Myrtle Avenue                                  impound program after giving someone a ride
 Harvey, IL 60426                                     whose car had broken down, we were pulled
 708.247.9454                                         over, and my car was impounded.




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INTERROGATORY NO. 3:

       Describe all steps you took to locate and obtain release of your vehicle from impound
       following it being towed and impounded by the City of Chicago as described in the
       Amended Complaint, including the dates on which you took each action and identify
       all individuals you communicated with in your attempt to obtain release of your
       vehicle.

Response:

       Objection. This interrogatory is unduly burdensome in that it seeks information about the
names of every person Plaintiff communicated with and precise dates of events several years later.
Without waiving this objection, Plaintiff responds with the following:

        On the day that the police pulled me over, June 21, 2016, they took me and my passenger
into the station. I asked at the station how to get my car back. They told me I had to go to court
downtown to get it back. I don’t remember the name of the police officers I spoke with.

        I went downtown to the Daley Building the day after they towed my car. I went to the
information center, where they told me that I should get a court date soon. I don’t remember the
dates or the names of the staff I spoke with.

       I went to the Daley Building many times for the forfeiture case to try to get my car back.
This took several months. The judge there waived my court fees and granted my hardship request
motion to get my car and tools back so I could work. The judge said I could get them back if I paid
a $30 bond, which I did. I then went to the pound on Doty Road to retrieve my tools and car, but
they denied me and said I had to go to 400 West Superior to get an order to release my car. I don’t
remember the names of the people I spoke with.

         I took the judge’s order to 400 West Superior, but they would not release the car. I returned
several times for hearings at 400 West Superior, but they kept refusing to release my car unless I
paid all the fees. This happened for months. I don’t remember the names of the people I spoke
with.

        I then got a court order dismissing the forfeiture case and saying that towing and storage
fees would not be assessed. I had another hearing at 400 West Superior, and they said that I had to
pay the fine and all the fees even though the state said I didn’t have to pay any of it.

       I tried to appeal, but that didn’t work either.

        A few months after my last hearing at 400 West Superior, I got a notice from the pound that
they were going to dispose of my car. I called and ended up meeting the supervisor at the main
police station headquarters near 35th and King. I think his name was Rick. He stopped my car from
getting disposed of, but he couldn’t give it to me.

        In September or October 2020, I got a letter saying my car was being released from
investigation and I could go get it. There was a number on the bottom of the letter that I called, and
the person said I could go get it because that’s what the computer said. I called the pound, but they
told me I needed a release letter from 400 West Superior first. So I went to 400 West Superior, but


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they couldn’t find anything listed on the computer. I showed them my letter, but they said they
wouldn’t release it unless I could show them a hearing paper saying it was released or I paid for all
the storage fees from 2016. They told me to speak with a city lawyer, and I did on the phone three
days later, but she said I couldn’t get the car without paying $2,000. I mentioned the release, and she
said it didn’t pertain to us, so I was back at square one and could only get the car if I paid the $2,000
fine. I don’t remember the names of the people I spoke with.

INTERROGATORY NO. 4:

        Describe all steps you took to locate and obtain release of your personal property
        inside of your vehicle from impound following your vehicle being towed and
        impounded by the City of Chicago as described in the Amended Complaint,
        including the dates on which you took each action, and identify all individuals you
        communicated with in your attempt to obtain release of your personal property.

Response:

       Objection. This interrogatory is unduly burdensome in that it seeks information about the
names of every person Plaintiff communicated with and precise dates of events several years later.
Without waiving this objection, Plaintiff responds with the following:

         See my response to Interrogatory No. 3. In addition to what I said there, I called the pound
to see if I could get the tools out separately. They told me the only way I could is if I signed a release
of my car. I also visited in person to see if I could get the tools around January or February 2017,
but they told me the same thing. I don’t remember the names of the people I spoke with.

INTERROGATORY NO. 5:

        Identify the date and time you first learned that your vehicle was impounded as
        described in the Amended Complaint, the means by which you learned of the
        impounding of your vehicle, and from whom you learned of the impounding of your
        vehicle.

Response:

       I found out my car was impounded the same day that the police took it—June 21, 2016, in
the midafternoon, maybe around 2:00 to 4:00 pm. The police officers told me I couldn’t take my car
and they were impounding it.

INTERROGATORY NO. 6:

        Identify each person answering or assisting in answering these interrogatories.

Spencer Byrd, Diana Simpson.




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                                            VERIFICATION

I declare under penalty of perjury that the preceding interrogatory responses are true and correct to
the best of my knowledge as of this date, December 16, 2020.
/s/ Spencer Byrd



Dated: December 16, 2020

                                By:     /s/ Diana K. Simpson
                                        Diana K. Simpson
                                        Kirby Thomas West
                                        INSTITUTE FOR JUSTICE
                                        901 North Glebe Road, Suite 900
                                        Arlington, VA 22203
                                        (703) 682-9320
                                        diana.simpson@ij.org; kwest@ij.org

                                        Robert Pavich
                                        PAVICH LAW GROUP, PC
                                        30 West Monroe Street, Suite 1310
                                        Chicago, IL 60603
                                        (312) 690-8400
                                        rpavich@pavichlawgroup.com
                                        Counsel for Plaintiffs



                                      CERTIFICATE OF SERVICE

        I hereby certify that on December 16, 2020, I emailed the foregoing Plaintiff Spencer Byrd’s
Responses to the Defendant’s First Interrogatories to the following counsel for Defendant:

        Andrew W. Worseck
        Peter H. Cavanaugh
        City of Chicago, Department of Law
        andrew.worseck@cityofchicago.org
        peter.cavanaugh@cityofchicago.org

                                        /s/ Diana K. Simpson




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                               EX. D
     Case: 1:19-cv-03691 Document #: 77 Filed: 11/10/21 Page 35 of 41 PageID #:816



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


JEROME DAVIS,                                          No. 1:19-cv-03691
VERONICA WALKER-DAVIS,
SPENCER BYRD,                                          Assigned to the Honorable Judge Rowland
ALLIE NELSON, AND
LEWRANCE GANT
                                                       Plaintiff Lewrance Gant’s Responses to the
              Plaintiffs,                              Defendant’s First Interrogatories

v.

CITY OF CHICAGO,

              Defendant.

        Plaintiff Lewrance Gant hereby responds to Defendant City of Chicago’s First
Interrogatories as follows.

                                       GENERAL OBJECTIONS

       1.       Plaintiff has completed neither his investigation and discovery in this action nor his
preparation for trial. Accordingly, all responses below are based only upon such information and
documents that are presently available and specifically known to Plaintiff. All responses are provided
without prejudice to Plaintiff’s rights to:

                a.      Produce documents, evidence of any subsequently discovered fact or facts,
                or analyses not yet obtained or completed;

                b.      Otherwise assert factual and legal contentions as additional facts are
                ascertained, analyses are made, and legal research is completed; and

                c.      Amend, supplement, or withdraw any responses accordingly.

        2.      Plaintiff makes no implied admissions below.

        3.     Plaintiff objects generally to Defendant’s First Interrogatories to the extent that they
seek discovery of:

                a.      Information or documents subject to the attorney-client privilege, or any
                other applicable privilege;

                b.      Information or documents constituting the work product of Plaintiff or their
                attorneys in connection with the above-captioned matter;
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                c.       Information generated or documents prepared in anticipation of litigation or
                for trial by or for Plaintiff in connection with the above-captioned matter and not
                made discoverable by Rule 26;

                d.      Information or documents not in the possession or control of Plaintiff;

                e.      Confidential information or documents, except as a suitable protective order
                is entered.

                f.       No response is intended to waive these objections, including the inadvertent
                disclosure of any privileged document that resulted from Plaintiff’s good-faith effort
                to thoroughly respond to these interrogatories. Accordingly, Plaintiff reserves the
                right to recall any privileged document(s) from Defendant that were inadvertently
                disclosed in responding to these interrogatories.

       4.      Plaintiff objects to the interrogatories to the extent that they are oppressive,
overbroad, and unduly burdensome.

        5.       Plaintiff objects to the interrogatories to the extent that they are vague, ambiguous,
unintelligible, and make response impossible without speculation.

       6.       Plaintiff objects to the interrogatories to the extent that they are beyond the scope of
permissible discovery, seek information that is not relevant to the subject matter of this lawsuit,
and/or are not reasonably calculated to lead to the discovery of admissible evidence.

       7.      Plaintiff does not waive any of their general or specific objections in the event that
she may furnish materials or information coming within the scope of any such objections.

        8.     Plaintiff states that to the extent that any of the interrogatories seek information
already produced or provided to Defendant, that information will not be reproduced unless
Defendant specifically request it.

        9.      Plaintiff objects to the interrogatories to the extent that they purport to impose a
burden of disclosing information that is not readily available to Plaintiff or is equally available to
Defendant. Plaintiff further objects to the interrogatories to the extent that they purport to impose a
burden on Plaintiff to seek out information from third persons and/or to identify documents that
are not in Plaintiff’s possession, custody, or control, or that cannot be found in the course of a
reasonable search.

         10.   Where Defendant did not define a term used in the following interrogatories and
that is ambiguous, Plaintiff applies each term’s common meaning.

         11.     Plaintiff’s answers to Defendant’s First Interrogatories are subject to the General
Objections as well as the specific objections made to each specific interrogatory. By answering
certain interrogatories, Plaintiff does not waive these general objections or any specific objections to
particular interrogatories.




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INTERROGATORY NO. 1:

       Identify by name (including all aliases), current address, and telephone number any
       and all persons having knowledge of the factual matters alleged in Plaintiffs’
       Amended Complaint, and briefly describe the subject matter of each person’s
       knowledge.

Response:

         Objection. This interrogatory is unduly burdensome in that it seeks information about “any
and all” persons with any knowledge of facts alleged in Plaintiffs’ Amended Complaint. Numerous
persons, including unknown third parties, are likely to have some knowledge of facts alleged in
Plaintiffs’ Amended Complaint. Further, Plaintiff has not completed investigation, discovery, or
preparation for trial. Without waiving this or any other objection, Plaintiff responds with the
following:

 Person                                               Subject Matter
 Lewrance Gant                                        My car was impounded by the City of Chicago,
 7628 South Hermitage Avenue                          and I unsuccessfully tried to get it back from
 Chicago, IL 60620                                    the police, the pound, and by attending the
 773.259.6210                                         hearings.
 Donald Salter                                        I lent my car to Donald Salter, who was driving
 1330 West 76th Street, Apartment 235                 it when the police stopped him and then
 Chicago, IL 60620                                    impounded the car. He also attended the
 312.450.9854                                         hearings with me.

INTERROGATORY NO. 2:

       Identify by name (including all aliases), current address, and telephone number any
       and all persons who may be called to testify at the trial in this matter, and identify the
       subjects of the witnesses’ expected testimony.

Response:

      Objection. Plaintiff has not completed investigation, discovery, or preparation for trial.
Without waiving this objection, Plaintiff responds at this time with the following:

 Person                                               Subject Matter
 Lewrance Gant                                        I can testify about my experience with the city’s
 7628 South Hermitage Avenue                          impound program after lending my car to my
 Chicago, IL 60620                                    friend Donald Salter.
 773.259.6210

INTERROGATORY NO. 3:

       Describe all steps you took to locate and obtain release of your vehicle from impound
       following it being towed and impounded by the City of Chicago as described in the
       Amended Complaint, including the dates on which you took each action and identify


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       all individuals you communicated with in your attempt to obtain release of your
       vehicle.

Response:

        Objection. This interrogatory is unduly burdensome in that it seeks information about the
names of every person Plaintiff communicated with and precise dates of events more than a year
later. Without waiving this objection, Plaintiff responds with the following:

        I received a call from my friend Don Salter early in the morning on March 30, 2019, who
was at the police station. Don told me he had been pulled over and that they were impounding the
car. I went to the police station and asked if I could take my car, but they would not let me even
though the car was sitting at the police station. The police told me I had to go to the pound to get
the car out. I do not remember the names of the police officers I spoke with.

        I went to the pound the next day in the morning with my friend Don. I talked with the staff
there, but I don’t remember their names. When I asked to get my car, they told me I needed to pay
around $3,200 to get my car out. They also told me I had to go to court.

        I went to the court at 400 West Superior the next day, Monday April 1, 2019. I talked with
the staff there, but I don’t remember their names. They told me the same thing that the people at
the pound told me: I needed to pay around $3,200 to get my car out. I couldn’t pay that, so I left. I
returned three more times for hearings, but the court rescheduled some of them. Every time I went
back, the fees at the pound kept increasing. The last hearing that I went to, I talked to the judge
about what had happened and asked to get my car back, but the judge would not drop the charges,
and that was the end of the case. I didn’t remember all of the dates of the hearings, but I went back
and looked at my documents and saw that the hearings were on April 1, 2019, April 30, 2019, June
4, 2019, and July 12, 2019. My friend Don went with me every time to court.

INTERROGATORY NO. 4:

       Identify the date and time you first learned that your vehicle was impounded as
       described in the Amended Complaint, the means by which you learned of the
       impounding of your vehicle, and from whom you learned of the impounding of your
       vehicle.

Response:

       I learned my car was going to be impounded on March 30, 2019, early in the morning,
perhaps 8:00 or 9:00 am, when my friend Don Salter called me by phone and told me.

INTERROGATORY NO. 5:

       Identify each person answering or assisting in answering these interrogatories.

Response:

Lewrance Gant, Diana Simpson.



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                                           VERIFICATION

I declare under penalty of perjury that the preceding interrogatory responses are true and correct to
the best of my knowledge as of this date, December 16, 2020.
/s/ Lewrance Gant



Dated: December 16, 2020
                               By:     /s/ Diana K. Simpson
                                       Diana K. Simpson
                                       Kirby Thomas West
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                                       (312) 690-8400
                                       rpavich@pavichlawgroup.com
                                       Counsel for Plaintiffs



                                     CERTIFICATE OF SERVICE

        I hereby certify that on December 16, 2020, I emailed the foregoing Plaintiff Lewrance Gant’s
Responses to the Defendant’s First Interrogatories to the following counsel for Defendant:

       Andrew W. Worseck
       Peter H. Cavanaugh
       City of Chicago, Department of Law
       andrew.worseck@cityofchicago.org
       peter.cavanaugh@cityofchicago.org

                                       /s/ Diana K. Simpson




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                                EX. E
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